Case 2:15-cr-20652-GCS-DRG ECF No. 1725, PageID.23563 Filed 04/28/21 Page 1 of 9

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                               UNITED STATES DISTRICT COURT
                                           for the
                                 Eastern District of Michigan

  U.S.A. vs. Derrick Kennedy                                              Docket No. 15-20652-9

                      Petition for Action on Conditions of Pretrial Release

         COMES NOW Michael Mitchell, Pretrial Services Officer, presenting an official report
  upon the conduct of defendant Derrick Kennedy who was placed under pretrial release
  supervision by Your Honor in the Court at Detroit, Michigan on December 05, 2016, under the
  following conditions:
  1. Report as directed to Pretrial Services.
  2. Do not use or unlawfully possess a narcotic drug or other controlled substances.
  3. Submit to drug testing and treatment as directed by Pretrial Services.
  4. Curfew as directed by Pretrial Services.
  5. Submit to Radio Frequency monitoring.
  6. Upon release from custody, the defendant shall immediately notify Pretrial Services and
  follow any instructions given by the Pretrial Services Officer. (added on 07/13/20)
  7. The defendant shall be placed on 24-hour home incarceration that will be monitored through
  the use of GPS monitoring technology. (added on 07/13/20)
  8. While on 24-hour home incarceration, the defendant shall reside at the residence identified
  during the hearing that was conducted on July 9, 2020. Prior to residing at any subsequent
  residence, the defendant must provide the address of the subsequent residence to Pretrial
  Services and shall not be permitted to reside at the subsequent residence until Pretrial Services
  has approved the subsequent residence. (added on 07/13/20)
  9. The defendant is restricted to his residence at all times except for medical emergencies,
  activities that have been approved by the Court, and activity described in Paragraph 5 of this
  order. (added on 07/13/20)
  10. If the defendant changes his phone number, within 24 hours of the change, he shall provide
  Pretrial Services and his attorney his new phone number. (added on 07/13/20)
  11. The defendant’s attorney shall provide the defendant’s phone number to the Government
  upon request. (added on 07/13/20)
  12. The only person allowed to reside with the defendant are his spouse and children. (removed
  on 05/08/21)
  13. With the exception of personnel from law enforcement, pretrial services, medical personnel,
  defense counsel, and the persons described in Paragraph 9, the defendant shall not have any other
  persons inside his residence at anytime unless prior approval is obtained from the Court. (added
  on 05/08/21)
  14. To the extend the defendant is permitted to leave his residence for the reasons specified in
  Paragraphs 4 and 5 of this Order, his travel for those purposes is limited to Oakland County and
  Wayne County. (added on 07/13/20)
  15. The defendant shall not have contact, by any means, with any known gang members, victim,
  witnesses, or co-defendants unless for court purposes in the presence of counsel. (added on
  07/13/20)
Case 2:15-cr-20652-GCS-DRG
      Case 1:21-mj-00007-jay Document
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  16. The defendant shall not engage in any assaultive, threatening, or intimidating behavior.
  (added on 07/13/20)
  17. To the extent that they do not conflict with conditions specified above, the defendant shall
  comply with all previously imposed standard and special conditions of pretrial supervision.
  (added on 07/13/20).

  Respectfully presenting petition for action of Court and for cause as follows:

  On April 05, 2021, at approximately 7:39pm (19:39 hours), Pretrial Services received
  notification the defendant cut off his location monitoring device. The defendant’s current
  whereabouts are unknown.

  This officer has contacted Assistant United States Attorney’s William Sloan and A.Tare Wigod
  about the aforementioned warrant request. The Government concurs in this request.

  PRAYING THAT THE COURT WILL ORDER THE CANCELLATION OF BOND,
  AND A WARRANT BE ISSUED FOR THE DEFENDANT’S ARREST UNDER SEAL.



                                                          I declare under penalty of perjury that the foregoing is
   ORDER OF COURT
                                                          true and correct.
                                 6th
   Considered and ordered this __________    day of
   April                21 and ordered filed and made a   Executed on April 05, 2021
   ____________,    20____
   part of the records in the above case.
                                                          Respectfully,

   _________________________________________
   s/George Caram Steeh
   United States District Judge George Caram Steeh
                                                          s/Michael Mitchell
                                                          Michael Mitchell, United States Pretrial Officer


                                                          Place: Detroit, Michigan
Case 2:15-cr-20652-GCS-DRG
      Case 1:21-mj-00007-jay Document
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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TENNESSEE
                                       EASTERN DIVISION

  UNITED STATES OF AMERICA

  -vs-                                                        Case No. 1:21-mj-00007-jay

  Derrick Kennedy
                            ORDER APPOINTING COUNSEL PURSUANT TO
                                   THE CRIMINAL JUSTICE ACT

         This Court has determined that the above-named defendant is financially unable to

  obtain adequate representation in the above-styled case, and is otherwise qualified for

  appointment of counsel. Accordingly, the Court makes the following appointment pursuant to

  the Criminal Justice Act (18 U.S.C. § 3006A):


                                    APPOINTMENT OF COUNSEL

         •   Federal Public Defender appointed

                                       TYPE OF APPOINTMENT

         • Rule 5 proceedings in this district

         DONE and ORDERED at 111 S. Highland Ave., Jackson, Tennessee on April 23, 2021


                                                  s/Jon A. York
                                                  UNITED STATES MAGISTRATE JUDGE
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          Case 1:21-mj-00007-jay Document
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AO 466 (Rev. 12/17) Waiver of Rule 32.1 Hearing (Violation of Probation or Supervised Release)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District of Tennessee

                  United States of America                                    )
                                 v.                                           )        Case No.       1:21-mj-00007-jay-1
                                                                              )
                                                                              )
                        Derrick Kennedy                                       )        Charging District's Case No.            15cr20652-9
                             Defendant                                        )

                                                  WAIVER OF RULE 32.1 HEARING
                                               (Violation of Probation or Supervised Release)

       I understand that I have been charged with violating the conditions of probation or supervised release in a case
pending in another district, the (name ofother court} .   Eastern District of Michigan

           I have been informed of the charges and of my rights to:
          (l)        retain counsel or request the assignment of counsel ifl am unable to retain counsel;
          (2)        an identity hearing to determine whether I am the person named in the charges;
          (3)        production of certified copies of the judgment, warrant, and warrant application, or reliable electronic
                     copies of them if the violation is alleged to have occurred in another district;
          (4)       a P.reliminary hearing to determine whether there is probable cause to believe a violation occurred if I
                    will be held in custody, and my right to have this hearing in this district if the violation is alleged to
                    have occurred in this district; and
          (5)        a hearing on the government's motion for my detention in which I have the burden to establish my
                     eligibility for release from custody.

          I agree to waive my right(s) to:
          0         an identity hearing and production of the judgment, warrant, and warrant application.
          0         a preliminary hearing.
          0         a detention hearing.
          r-/       an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
                    or detention hearing to which I nyiy be entitled in this district. I request that my
                    ii?'preliminary hearing and/or ~ detention hearing be held in the prosecuting district, at a time set by
                    that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           04/23/2021
                                                                                                  Defendant's signature


                                                                                                 M. Dianne Smothers       ~\
                                                                                           Signature of defendant's attorney


                                                                                   'Yv\~;           C\ ~i. l\Q,           s\rt{
                                                                                         Printed name ofdefendant's attorney
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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TENNESSEE
                                        EASTERN DIVISION

  UNITED STATES OF AMERICA

  -vs-                                                         Case No. 1:21-mj-00007-jay

  Derrick Kennedy

                                ORDER OF DETENTION PENDING TRIAL

                                               FINDINGS

            In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has

  been held. The following facts and circumstances require the defendant to be detained

  pending trial.


         ✔ The  defendant makes no application for release at this time. A motion for conditions
           of release and a detention hearing may be filed at a later date; OR


            No condition or combination of conditions of release will reasonably assure the
            appearance of the defendant as required.

            No condition or combination of conditions of release will reasonably assure the safety
            of any other person and the community.


            No condition or combination of conditions of release will reasonably assure the
            appearance of the defendant as required or the safety of any other person and the
            community.


             This conclusion is based on the findings and analysis of the matters enumerated in 18
             U.S.C. § 3142(g) as stated on the record in open court at the detention hearing.

                                 DIRECTIONS REGARDING DETENTION
            The defendant is committed to the custody of the Attorney General or his designated

 representative for confinement in a corrections facility separate, to the extent practicable, from
Case 2:15-cr-20652-GCS-DRG
      Case 1:21-mj-00007-jay Document
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  persons awaiting or serving sentences or being held in custody pending appeal. The defendant

  shall be afforded a reasonable opportunity for private consultation with defense counsel. On

  order of a Court of the United States or on request of an attorney for the government, the

  person in charge of the corrections facility shall deliver the Defendant to the United States

  marshal for the purpose of an appearance in connection with a Court proceeding.



  Date: April 23, 2021                              s/ Jon A. York
                                                    UNITED STATES MAGISTRATE JUDGE
      Case 2:15-cr-20652-GCS-DRG
            Case 1:21-mj-00007-jay Document
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AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                    __________ District
                                                     Western District of of __________
                                                                         Tennessee

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No. 1:21-mj-7-jay
                                                                      )
                      Derrick Kennedy                                 )          Charging District’s
                           Defendant                                  )          Case No. 15cr20652-9

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                     Eastern        District of Michigan            ,
(if applicable)                                      division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:        u will retain an attorney.
                                ✔ is requesting court-appointed counsel.
                                u

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:             04/23/2021                                                                  s/Jon A. York
                                                                                             Judge’s signature

                                                                               Jon A. York, United States Magistrate Judge
                                                                                           Printed name and title
